 Case: 4:16-cr-00159-AGF Doc. #: 223 Filed: 02/13/19 Page: 1 of 2 PageID #: 2211


                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION
UNITED STATES OF AMERICA,                         )
                                                  )
          Plaintiff,                              )
                                                  )
    v.                                            )        No. 4:16-CR-00159-AGF
                                                  )
LOREN ALLEN COPP,                                 )
                                                  )
          Defendant.                              )
                                                  )
                                               ORDER

         This matter is before the Court on Defendant’s Pro Se Motion (Doc. No. 222) wherein he

requests a pro bono copy of the Trial Transcript as well as an extension of time to file a reply to the

Government’s Response in Opposition to Defendant’s Motion for New Trial. In Defendant’s

motion, he states that his funds have been depleted and as such he requests a pro bono copy of the

Trial Transcript. He further asks for three weeks additional time from the date he receives the

transcript to prepare and file a Reply to the Government’s Response in Opposition.

         For purposes of the Court, Defendant’s statement of indigence made within his motion is

not sufficient to deem him indigent for purposes of requesting pro bono copies of documents. As

such, Defendant must file a Motion to Proceed In Forma Pauperis along with a Financial Affidavit

and Inmate Account Statement.

         Accordingly,

         IT IS HEREBY ORDERED that the Court will defer ruling on Defendant’s Motion until

such time as he files a Motion to Proceed In Forma Pauperis along with a Financial Affidavit and

Inmate Account Statement.
 Case: 4:16-cr-00159-AGF Doc. #: 223 Filed: 02/13/19 Page: 2 of 2 PageID #: 2212


       IT IS FURTHER ORDERED that the Clerk of Court is directed to mail a Financial

Affidavit to Defendant along with a copy of this Order.

       Dated this 13th day of February, 2019.


                                                   __________________________________
                                                   AUDREY G. FLEISSIG
                                                   UNITED STATES DISTRICT JUDGE




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